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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                         Plaintiffs,               Civil Action No. 21-3354 (BAH)

                        v.                         Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                         Defendant.


                                            ORDER

        Upon consideration of plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss’s Motion for

Discovery Sanctions, ECF No. 81, the related legal memoranda in support and in opposition, the

exhibits and declarations attached thereto, the parties’ Updated Joint Status Report, ECF No. 89,

and the entire record herein, for the reasons set forth in the accompanying Memorandum Opinion,

it is hereby

        ORDERED that plaintiffs’ Motion for Discovery Sanctions, ECF No. 81, in the form of

default judgment and an award for attorneys’ fees and costs associated with filing the motion, is

GRANTED; it is further

        ORDERED that default judgment will be entered against defendant Rudolph W. Giuliani

on his liability for plaintiffs’ defamation, intentional infliction of emotional distress, civil

conspiracy, and punitive damage claims, pursuant to Federal Rules of Civil Procedure 37(e)(2)(C)

and 37(b)(2)(A)(vi); it is further

        ORDERED that, by September 20, 2023, the parties shall confer and submit a proposed

schedule governing future proceedings in this matter, including three proposed dates for trial on



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damages, see FED. R. CIV. P. 55(b)(2)(B), in the period from November 2023 to February 2024,

and with associated proposed dates for any pretrial motions and a pretrial conference; it is further

       ORDERED that, by September 8, 2023, plaintiffs shall submit their costs and attorneys’

fees incurred in preparing and filing the Motion for Discovery Sanctions, ECF No. 81, with any

objection by defendant Rudolph W. Giuliani due by September 15, 2023, and reply by plaintiffs

by September 20, 2023; it is further

       ORDERED that, by September 20, 2023, in order to facilitate preparation for a trial on

any damages owed to plaintiffs, defendant Rudolph W. Giuliani is directed:

           a. To produce complete responses to plaintiffs’ Requests for Production (“RFP”)

               Numbers 40 and 41, which he was previously ordered to produce by June 30, 2023,

               see Minute Order (June 22, 2023);

           b. To ensure that Giuliani Communications LLC and Giuliani Partners LLC

               (collectively, the “Giuliani Businesses”) produce complete responses to plaintiffs’

               requests for financial documents and viewership metrics, including RFP Numbers

               19 and 35, seeking records sufficient to show how his podcast, called Common

               Sense, generates revenue, including through advertising agreements and

               distribution contracts, and records sufficient to summarize viewer and listener

               metrics for Giuliani’s statements on social media and Common Sense from the date

               of original publication through the present, including reach, count, page visits,

               posts, shares, time spent, impressions, and listener numbers, and the number of

               online views and/or impressions of any statements Giuliani made about plaintiffs,

               as described in the Amended Complaint ¶¶ 57-101, ECF No. 22, as well as




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               designate one or more corporate representatives to sit for depositions on those

               businesses’ behalf;

           c. To reimburse plaintiffs’ attorneys’ fees and costs associated with their successful

               first motion to compel discovery, see Pls.’ Mot. Compel, ECF No. 44, in the amount

               totaling $89,172.50, with interest on that amount to accrue from July 25, 2023,

               which is when this reimbursement payment was originally due, see Minute Order

               (July 13, 2023); and

           d. To ensure that the Giuliani Businesses reimburse plaintiffs’ attorneys fees

               associated with their successful motion to compel discovery from those Businesses,

               see Pls.’ Revised Mot. Compel Giuliani Partners & Giuliani Communications

               (“Pls.’ Giuliani Businesses Motion”), ECF No. 70, in the amount totaling $43,684,

               with interest on that amount to accrue from September 20, 2023 against defendant

               Rudolph W. Giuliani personally if his Businesses fail to timely comply; it is further

       ORDERED that, as a sanction for defendant’s failure timely to reimburse plaintiffs’

$89,172.50 in attorneys’ fees by July 25, 2023, the jury will be instructed that they must, when

determining an appropriate sum of punitive damages, infer that he is intentionally trying to hide

relevant discovery about his financial assets for the purpose of artificially deflating his net worth,

unless he produces fulsome responses to plaintiffs’ RFP Numbers 40 and 41 by September 20,

2023, in which case, the mandatory instruction may be converted to a permissive one.

       SO ORDERED.

       Date: August 30, 2023

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                                                      BERYL A. HOWELL
                                                      United States District Judge


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